      Case 1:09-cv-00228-DNH-CFH Document 210 Filed 08/08/14 Page 1 of 3



UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
________________________________________________


TOWN OF HALFMOON et al.,

                       Plaintiffs,

       v.                                                      Case No. 1:09-cv-0228, DNH-CFH


GENERAL ELECTRIC COMPANY,

                       Defendant.



SARATOGA COUNTY WATER AUTHORITY,                               Case No. 1:11-cv-006, DNH-CFH

                       Plaintiff,

       v.                                                      RETURN DATE:
                                                               December 5, 2014
GENERAL ELECTRIC COMPANY,
                                                               ORAL ARGUMENT
                       Defendant.                              REQUESTED




             GENERAL ELECTRIC COMPANY’S NOTICE OF MOTION TO
              EXCLUDE CERTAIN OPINIONS OF KIRK W. BROWN, Ph.D.

To all parties and their counsel of record:

       PLEASE TAKE NOTICE THAT Defendant General Electric Company (“GE”), by and

through its undersigned counsel and pursuant to Rules 104 and 702 of the Federal Rules of

Evidence, will move this Court on December 5, 2014 at 10:00 a.m., or as soon thereafter as

counsel can be heard in the courtroom of Hon. David N. Hurd in the United States District Court
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for the Northern District of New York in Utica, New York, for the exclusion of certain opinions

of Kirk W. Brown, Ph.D.

       This Motion is based on this Motion and the accompanying Memorandum of Law,

Declaration of William J. Bachman dated August 8, 2014 and exhibits, and such other evidence

and argument as the Court may consider.

       Defendant GE requests the opportunity to present oral argument regarding this Motion.



       WHEREFORE, General Electric Company respectfully requests that the Court enter an

Order excluding certain opinions of Kirk W. Brown, Ph.D.


Dated: August 8, 2014                       Respectfully Submitted

                                            /s/ Steven R. Kuney
                                            Steven R. Kuney, Esquire (pro hac vice)
                                            Joseph G. Petrosinelli (Bar No. 506753)
                                            Robert J. Shaughnessy (pro hac vice)
                                            William J. Bachman, Esquire (pro hac vice)
                                            WILLIAMS & CONNOLLY LLP
                                            725 Twelfth Street, N.W.
                                            Washington, DC 20005
                                            Telephone: (202) 434-5000
                                            Facsimile: (202) 434-5029

                                            Attorneys for Defendant General Electric Co.




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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
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TOWN OF HALFMOON et al.,

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       v.                                                   Case No. 1:09-cv-0228, DNH-CFH


GENERAL ELECTRIC COMPANY,

                       Defendant.



SARATOGA COUNTY WATER AUTHORITY,

                       Plaintiff,

       v.                                                   Case No. 1:11-cv-006, DNH-CFH

GENERAL ELECTRIC COMPANY,

                       Defendant.



        I HEREBY CERTIFY that on this 8th day of August, 2014, a true copy of the foregoing
Notice of Motion to Exclude Certain Opinions of Kirk W. Brown, Ph.D. was served
electronically on the following counsel of record:

            Donald W. Boyajian, Esquire            David A. Engel, Esq.
            James R. Peluso, Jr., Esquire          Shannan Krasnokutski, Esq.
            DREYER, BOYAJIAN LLP                   Nolan & Heller, LLP
            75 Columbia Street                     39 North Pearl Street
            Albany, NY 12210                       Third Floor
                                                   Albany, NY 12207



                                            /s/ William J. Bachman
                                            William J. Bachman
